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#1\56403-RDT

IN THE UN|TED STATES D|STRlCT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE

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No. 1-04-1103-T-An

DONNA J. SCRANTON, KE|TH

P. SCRANTON (by next friend John
Phi|ip Scranton, father), and JOHN
PH|L|P SCRANTON,

P|aintiffs,
vs.

CHARLES M. K|NG and RlCH-
LlNE EXPRESS, lNC.,

-_¢-_¢-_.¢~_.¢\-»-_r--_I-_¢--_»-_/~._r~._"_¢

Defendants.

 

ORDER OF DlSMlSSAL W|TH PREJUDlCE

 

This date came the parties in the above-captioned cause and stated unto the Court
that all issues had been resolved by way of compromise and they jointly request that the
Court enter a judgment of dismissal with prejudice.

|T lS, THEREFORE, ORDERED, ADJUDGED AND DECREED thatthe within action
brought by Donna J. Scranton, Keith P. Scranton (by next friend John Phi|ip Scranton,

father), and John Pt;;|‘i_p Scranton be and the same is hereby dismissed with prejudice

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Case 1:04-cv-01103-.]DT-STA Document 28 Filed 04/29/05 Page 2 of 3 Page|D 25

#2\56403-RDT

APPROVED FOR ENTRY:

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R.DALE Tl-lO A ,#
Attorney for Defendants

 

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TAET

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UNITED DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 1:04-CV-01103 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

